                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

 TENNESSEE EQUALITY PROJECT
 FOUNDATION, INC.,

                 Plaintiff,                         Case No. 3:23-cv-01044

        v.                                          Chief Judge Waverly D. Crenshaw

 THE CITY OF MURFREESBORO, et al.,                  Magistrate Judge Barbara D. Holmes

                 Defendants.

               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                    AND REQUEST FOR EXPEDITED BRIEFING

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiff Tennessee Equality Project

Foundation, Inc. (“TEP”) respectfully requests that the Court enter a preliminary injunction

preventing Defendants from (1) enforcing its retaliatory and discriminatory policy against issuing

permits to TEP, and (2) enforcing or taking any action pursuant to Murfreesboro City Code Section

21-22 as amended by Murfreesboro Ordinance 23-O-22 (the “Ordinance”) or Murfreesboro City

Code § 21-71 (the “1977 Definition”) while this action is pending.

       In support of this Motion, TEP relies on its Memorandum of Law in Support and its

Verified Complaint in this action. As set forth therein, TEP is likely to prevail on the merits of its

claims, a preliminary injunction is necessary to prevent further irreparable harm to TEP, and a

preliminary injunction is in the public interest. Immediate equitable relief is necessary so that TEP

can proceed with the 2023 BoroPride Festival without fear of civil or criminal penalties under the

Ordinance, can begin planning for the 2024 BoroPride Festival, and so that the broader LGBTQ+

citizens of Murfreesboro may engage in constitutionally protected activities without such fears.

       As articulated in the Memorandum in Support, TEP will be irreparably harmed if the Court

does not issue the requested preliminary injunction prior to the 2023 BoroPride Festival, scheduled



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for October 28, 2023. Because the default briefing schedule set by LR7.01(a) will not allow the

parties to complete briefing nor the Court to issue an Order on this Motion prior to October 28,

2023, TEP requests the Court set an expedite briefing schedule. Honorable Chief Judge

Crenshaw’s Judicial Preferences indicate that “expedited . . . briefing is allowed before a

preliminary injunction hearing.” (Crenshaw, C.J. Judicial Preference No. 24). TEP proposes the

following expedited briefing schedule:

       October 12, 2023: TEP’s Motion for Preliminary Injunction

       October 20, 2023: Defendants’ Response to Motion for Preliminary Injunction

       October 24, 2023: TEP’s Reply in support of Motion for Preliminary Injunction

       In the alternative, TEP requests that the Court grant Plaintiff’s Motion for Preliminary

Injunction prior to Defendants’ Response pursuant to LR7.01(b).

       TEP respectfully requests that the Court exercise its discretion and waive any bond

requirement in the case because Defendants are unlikely to sustain any costs or damages as the

result of the requested preliminary injunction. See Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d

1171, 1176 (6th Cir. 1995) (“[T]he rule in our circuit has long been that the district court possesses

discretion over whether to require the posting of security”); FemHealth USA, Inc. v. City of Mount

Juliet, 458 F. Supp. 3d 777, 805 (M.D. Tenn. 2020).

       Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

       Pursuant to LR 7.01(a)(1), the undersigned counsel hereby certifies that we have attempted

to meet and confer with counsel for Defendants prior to filing the foregoing Motion for Preliminary

Injunction. Defendants are not yet formally represented by counsel in this action, but we spoke

with the lawyers who are likely to represent the City, City Council, and City Officials in their

official capacities and the lawyers who are likely to represent the City Officials sued in their

individual capacities by telephone on October 12, 2023. We discussed our intended motion for

preliminary injunction and our request for expedited briefing.

       As counsel are still finalizing representation, they do not consent to any of the requested

relief, but we will continue to discuss possible agreements as to the briefing schedule and interim

agreements, if possible, once representation is finalized.

       We also note that we have been engaged in ongoing discussions with the City and its

counsel regarding the underlying issues since last spring and regarding the Ordinance specifically

in recent weeks, as outlined in the Complaint. Given the time-sensitive nature of the relief Plaintiff

seeks, Plaintiff could not delay in filing the Motion.



       /s/ J. Alex Little
       J. Alex Little, # 029858
       Burr Forman LLP




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                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day caused a copy of the foregoing Motion for Preliminary

Injunction to be served on all Defendants and counsel of record by Federal Express, overnight

delivery, addressed as follows:

 The City of Murfreesboro, Tennessee                City Council of Murfreesboro
 City Hall                                          City Hall
 111 W Vine St.                                     111 W Vine St.
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       /s/ J. Alex Little
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